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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                    Bid Protest

                                               )
CLASSIC AIR CHARTER, INC.,                     )               Final Redacted Version
                                               )
                        Plaintiff,             )

v.
                                               )
                                               )       Case No.
                                                                  25-286 C
                                               )
THE UNITED STATES,                             )
                                               )
                        Defendant.             )
                                               )

                                           COMPLAINT

         Plaintiff, Classic Air Charter, Inc. (“CAC”), alleges as follows for its Complaint against

the Defendant, the United States of America, acting by and through the U.S. Department of

Homeland Security (“DHS”), U.S. Immigration and Customs Enforcement (“ICE” or the

“Agency”).

                                       Nature of this Action

         1.     This Complaint arises out of a procurement with a history so protracted and

convoluted that its length and complexity are rivaled only by Odysseus’ arduous ten-year journey

home to Ithaca depicted in Homer’s epic, The Odyssey.1

         2.     Preceding this Complaint are three award decisions, four rounds of evaluations by

the Agency, and five rounds of bid protest litigation—which have included protests by CAC, by

the most recent presumptive awardee, CSI Aviation, Inc. (“CSI”), and by a prior awardee,

Chapman Freeborn Airchartering, Inc. (“Chapman Freeborn”).




1
    See HOMER, THE ODYSSEY (Robert Fitzgerald trans., Macmillan 1961) (800 BCE).




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          3.     Yet, even with so many opportunities, the Agency has still failed to conduct a

sound evaluation free of material defects, or to make a rational and reasoned award decision.

          4.     Request for Quotations No. 70CDCR23Q00000004 (the “RFQ”) sought

quotations for the establishment of a single-award, multi-billion-dollar Blanket Purchase

Agreement (“BPA”) for Daily Schedule Large Aircraft (“DSLA”) and Special High-Risk Charter

(“SHRC”) Flight Services in support of ICE Air Operations—the primary air transportation

division of the Agency charged with facilitating the transfer and removal of detained aliens in

support of DHS initiatives.2

          5.     Following initial evaluations, the Agency issued an award, valued at

approximately $2.8 billion, to Chapman Freeborn—a foreign-owned company with Russian ties

and an otherwise unsavory past—in May 2023. This award was protested at the Government

Accountability Office (“GAO”) by both CAC and CSI, and resulted in voluntary corrective

action by the Agency. The Agency subsequently terminated the contract award, and disqualified

Chapman Freeborn from further consideration.

          6.     At the conclusion of a corrective action reevaluation process, an award was issued

to CSI in March 2024, with a total value of $3.6 billion.

          7.     CAC successfully protested the award to CSI, which, in relevant part, was based

upon prejudicially flawed evaluations of CSI’s quotation under Factor 2—Aircraft Availability

and Commitment and Factor 4—Past Performance, and a defective best-value tradeoff

determination.




2
    See https://www.ice.gov/factsheets/ice-air-operations (last visited February 13, 2025).




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        8.     The Agency promised to take further corrective action to reevaluate those portions

of CSI’s quotation, but did not terminate CSI’s award—presumably because CSI would not have

been eligible to continue on in the competition or receive a new award due to the expiration date

of the General Services Administration (“GSA”) Multiple Award Schedule (“MAS”) contract

under which CSI submitted its quotation.

        9.     However, rather than “re-evaluate CSI’s Factor 2—Aircraft Availability and

Commitment and Factor 4—Past Performance proposals,” Exhibit 1 at 1, as the Agency

represented to the GAO it would do to obtain dismissal of CAC’s prior protest, the Agency

solicited revised quotation submissions in a letter dated June 10, 2024 (the “June 10 Letter”) to

allow CSI to cure the defects in its quotation.

        10.    CAC protested the Agency’s corrective action bait-and-switch at the GAO,

prompting the Agency to quickly rescind the June 10 Letter. Yet, several months later, the

Agency once again abandoned its promised corrective action and, on October 23, 2024, issued a

letter (the “October 23 Letter”) seeking revised quotation submissions.

        11.    The October 23 Letter was nearly identical to the rescinded June 10 Letter. In it,

the Agency stated that it had “performed a post-corrective action review and evaluation of

[CAC’s] quote,” and was now conducting discussions. Exhibit 16 at 1 (emphasis added). In

response, CAC renewed its protest at the Agency, challenging the Agency’s blatant departure

from the corrective action promised to the GAO, among other errors.3 In response to CAC’s




3
 In its Agency-level protest, CAC requested independent review of its claims at a level above the
Contracting Officer by an official without prior involvement in the procurement, pursuant to
FAR 33.103(d)(4). Exhibit 26 at 4. It is CAC’s understanding, however, that the official who
conducted this level-above review—Shawn O’Donnell—has been actively involved in the
subject procurement since its inception. Exhibit 27 at 7.



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protest, the Agency issued a paltry, cursory decision which summarily disposed of CAC’s

argument with little substantive analysis or legal justification.

        12.    Instead, after purportedly conducting another corrective action reevaluation drawn

out over three months, the Agency confirmed its prior award to CSI, at a price premium of more

than a half billion dollars as compared to CAC’s highly-rated quotation.

        13.    The Agency’s latest evaluation and award decision are no more rational,

reasonable, or lawful than those that preceded it.

        14.    Indeed, the Agency erred in evaluating CAC’s and CSI’s quotations, completely

disregarded the price evaluation factor, conducted a defective best-value tradeoff determination,

breached its implied duty to fairly and honestly consider CAC’s quotation, and arrived at a

prejudicially arbitrary and unlawful award decision.

        15.    CAC, by this Complaint, respectfully seeks, inter alia: (a) a declaration from the

Court that the Agency’s corrective action reevaluation of quotations, and confirmation of CSI as

the contract awardee, was prejudicially arbitrary, capricious, an abuse of discretion, and

otherwise unlawful; (b) a permanent injunction4 barring the Agency from proceeding with

performance of the unlawfully issued contract award to CSI; (c) an order directing the Agency to

terminate CSI’s contract award, conduct a rational reevaluation of offerors’ quotations in

accordance with the terms of the RFQ and applicable law, and render a new award decision; and




4
  CAC understands that the Government will be executing an additional six-month bridge
contract with CSI, with a period of performance from March 1, 2025 to August 31, 2025, and
that performance of the contract award to CSI which is the subject of this protest will be
voluntarily stayed during this bid protest litigation. CAC respectfully reserves the right to move
for a temporary restraining order or preliminary injunctive relief in the event that the voluntary
stay of performance is lifted prior to resolution of CAC’s protest.




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(d) the payment of CAC’s bid preparation and proposal costs, the precise amount of which will

be determined via a separate proceeding if the Agency and CAC are unable to resolve the matter

informally.

                                                Parties

        16.     Plaintiff is a corporation organized and incorporated under the laws of the State of

Delaware.

        17.     Defendant is the United States, acting by and through the U.S. Department of

Homeland Security, U.S. Immigration and Customs Enforcement.

                                     Jurisdiction and Standing

        18.     The Court has jurisdiction over this action because the case involves CAC’s

objection to “a solicitation by a Federal agency for bids or proposals for a proposed contract or to

a proposed award or the award of a contract or any alleged violation of a statute or regulation in

connection with a procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1).

        19.     CAC has standing to bring this suit because it is an actual offeror whose direct

economic interests have been, and continue to be, adversely and prejudicially affected by the

Agency’s improper conduct described in this Complaint. See, e.g., G4S Secure Integration LLC

v. United States, 161 Fed. Cl. 387, 396 (2022) (“[A] plaintiff must prove two elements to

establish that it has standing: 1) that it is an actual or prospective bidder/offeror, and 2) that it

possesses a direct economic interest in the award of the contract.”).

        20.     CAC timely submitted a quotation in response to the RFQ, has continued to

submit quotation revisions in response to each of the Agency’s amendments to the RFQ, each

round of discussions, and each round of voluntary corrective action undertaken by the Agency,




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and has continuously pursued an award under the RFQ. Thus, it cannot be disputed that CAC is

an actual offeror under the subject RFQ, and that the first element of standing is satisfied.

       21.     To demonstrate a direct economic interest in the procurement sufficient to support

standing, a plaintiff generally must make an adequate showing of prejudice. Yang Enterprises,

Inc. v. United States, 156 Fed. Cl. 435, 445 (2021). “A protester’s showing of prejudice differs

depending upon the nature of the protest.” Square One Armoring Serv., Inc. v. United States, 123

Fed. Cl. 309, 320 (2015). Generally, in the context of a post-award protest, “a protester

demonstrates the requisite prejudice by showing that it would have had a ‘substantial chance’ of

receiving the contract award but for the alleged errors in the procurement process.” Id. For

purposes of the standing analysis, “the Court must accept the well-pled allegations of agency

error to be true.” USfalcon, Inc. v. United States, 92 Fed. Cl. 436, 450 (2010).

       22.     CAC has standing to challenge the Agency’s corrective action reevaluation of

quotations and reissuance of a contract award to CSI.

       23.     CAC is a highly qualified and highly capable incumbent offeror. CAC received

                     scores under nearly every non-price evaluation factor, and received

outstanding marks in every category. Additionally, CAC submitted a fair and reasonable price

quotation under Factor 5, with a quoted price of                      and a total evaluated price

(inclusive of all options) of $3,066,667,176.19.

       24.     But for the Agency’s prejudicially arbitrary and unlawful conduct as detailed

herein, CAC would have received an even more favorable evaluation under Factor 4—Past

Performance, and thus would have achieved                          evaluation score under every

non-price factor. Further, had the Agency rationally evaluated CSI’s quotation, properly

considered price as an evaluation factor, and rationally conducted its best-value analysis,




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selection of CAC as the contract awardee would have been a foregone conclusion. Considering

CAC’s qualifications and capabilities, outstanding evaluation scores, and price advantage of

more than $      million as compared to CSI—and considering that CAC and CSI are now the

only two companies left in the competition—there is a more than substantial likelihood that CAC

would have received the contract award following a rational and reasonable evaluation and

source selection determination in accordance with the terms of the RFQ.

       25.     Taking CAC’s allegations as true, then, CAC has demonstrated that it would have

more than a substantial chance of receiving the contract award, but for the Agency’s arbitrary and

unlawful actions.

       26.     As such, CAC has standing to challenge the Agency’s corrective action

reevaluation of quotations and reissuance of a contract award to CSI.

                                      Factual Background

   A. Relevant Terms of the RFQ.

       27.     The Agency initially issued RFQ No. 70CDCR23Q00000004 on January 23,

2023, seeking to award a single, multi-billion-dollar BPA for Daily Schedule Large Aircraft and

Special High-Risk Charter Flight Services in support of ICE Air Operations. See Exhibit 2. The

RFQ was issued in accordance with FAR Subpart 8.4 under GSA MAS 481211B and/or

481211O. Id. at 2.

       28.     The RFQ contemplated the issuance of a hybrid BPA—including fixed-price with

Time and Materials CLINs—with a 12-month base period (inclusive of a 30-day transition

period) and four, 12-month option periods. Id. at 3.




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       29.       The Agency’s evaluation was to take place through a “two-phase, advisory down-

select process,” whereby the Agency would invite up to four contractors to participate in Phase 2

following a Phase 1 evaluation. Id. at 3-4.

       30.       As part of the Phase 1 quotation, offerors were required to submit a Cover Letter,

Accounting System Documentation, Letter(s) of Commitment, FAA Air Operating Certificate(s),

Airworthiness Certificates, Operations Specifications Documentation, a GSA Certification, a

Corporate Experience Questionnaire, a List of Available Aircraft, Required Clauses and

Provisions, and, if applicable, Teaming Agreement documentation. Id. at 4-5. As part of the

Phase 2 quotation, offerors were also to participate in an Oral Presentation and submit a

Betterment Promise, Pricing Spreadsheet, and Pricing Narrative. Id. at 5; see also Exhibit 3.

       31.       The RFQ specified the following factors and subfactors for use by the Agency in

evaluating quotations:

             x   Phase 1:
                    o Factor 1—Corporate Experience
                    o Factor 2—Aircraft Availability and Commitment
             x   Phase 2:
                    o Factor 3—Technical Capability
                           Subfactor 1—Subcontractor Management
                           Subfactor 2—Transition
                           Subfactor 3—Aviation Management
                           Subfactor 4—Betterment Promise
                           Subfactor 5—On the Spot Questions
                    o Factor 4—Past Performance
                    o Factor 5—Price.

Exhibit 2 at 14.

       32.       An acceptability review was also to be conducted as part of the Phase 1

evaluation. Id. at 13-14. As part of the Phase 1 acceptability review and verification, the Agency




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was to evaluate each offeror’s GSA Certification which, in turn, required consideration of the

offeror’s eligibility under the following criterion:

        In order to be eligible to compete, the total period of performance under the
        contractor’s GSA FSS contract must be in full force and effect for at least 60 months
        beyond the award date of the BPA via the exercise of available, unexercised options.

Id. at 7.

        33.     The RFQ further specified that “[q]uotes that do not pass the acceptability review

will not be evaluated for the remaining phases/parts or factors.” Id. at 10.

        34.     In assessing quotations under Factor 1, the Agency was required to “evaluate

whether the contractor will successfully perform the work (which includes, if applicable the

extent of its teaming partner’s involvement), based on its corporate experience.” Id. at 14.

        35.     The Agency would “evaluate the contractors’ experience providing the same or

similar services to the requirements listed in the SOW” by assessing “recent (active within the

last three years) and relevant projects (similar in scope and complexity).” Id. “Projects that are

more similar in scope to the proposed work, in scope and complexity, may be seen as more

relevant than efforts that are less similar in these areas.” Id.

        36.     The RFQ provided data from the predecessor contract—including total missions,

flight hours, and average flight hours per mission—over a look-back period through July 1,

2018, to serve as guidance for the size, scope, and complexity of the subject requirement.

        37.     Each offeror was to be assigned a confidence rating under Factor 1—Corporate

Experience using the following adjectival scale:




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Id. at 14-15.

       38.      For Factor 2, the Agency was to “evaluate the contractor’s aircraft availability (as

demonstrated by letters of commitment from air partners) as it aligns to the requirements of the

SOW.” Id. at 15.

       39.      An adjectival confidence rating for Factor 2—Aircraft Availability and

Commitment would be assigned to each offeror following the Agency’s evaluation, pursuant to

the following rating scale:




Id.

       40.      An offeror’s Technical Capability was to be evaluated under Factor 3 on the basis

of the offeror’s Oral Presentation and written Betterment Promise. Id.

       41.      For Subfactor 1—Subcontractor Management, the Agency would consider “the

soundness of the contractor’s approach to successfully managing subcontractors” by evaluating

whether the offeror’s proposed “approach would (1) be realistically achievable, (2) meet the

requirements of the SOW, if successfully executed, and (3) pose any excessive risks to the

Government.” Id.



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        42.    For Subfactor 2—Transition, the Agency was to evaluate whether the offeror’s

proposed approach to transitioning services “would (1) be realistically achievable, (2) meet the

requirements of the SOW, if successfully executed, and (3) pose any excessive risks to the

Government.” Id. The Agency was to conduct a similar analysis under Subfactor 3—Aviation

Management, considering whether the offeror’s “approach to successfully managing aircraft (to

include maintenance and safety)” would be achievable, meet SOW requirements, or pose risk to

the Agency. Id. at 15-16.

        43.    “[T]he soundness of the contractor’s betterment promise” would be evaluated

under Subfactor 4—Betterment Promise, by a consideration of “whether the promise would (1)

be realistically achievable, (2) exceed the requirements of the SOW, if successfully executed, in a

way that is beneficial to the Government[, and] (3) pose any excessive risks to the Government.”

Id. at 16.

        44.    Finally, an offeror’s responses to on-the-spot questions posed during its Oral

Presentation would be evaluated under Subfactor 5 for (1) an indication of understanding of the

presented scenario; (2) a sound plan or approach; (3) the offeror’s fluency on industry-specific

concepts and language; and (4) excessive performance and/or compliance risks. Id.

        45.    A single overall confidence rating would be assigned to each offeror under Factor

3, using the following scale:




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Id.

       46.     In its Factor 4—Past Performance evaluation, the Agency would “evaluate the

quality of services provided by the contractor (and teaming partners) to the agency and other

organizations as a prime contractor and/or subcontractor,” using as references the same projects

submitted by offerors under Factor 1—Corporate Experience. Id.

       47.     In evaluating past performance, the Agency was to “consider the recency and

relevance of the information obtained, source of information, and information about the quality

of services provided.” Id. at 17. “In addition to the CPARS assessments (interim and final) and

reference checks on project[s] submitted during Phase 1, the Government reserve[d] the right to

use other information in its assessment.” Id. Importantly, the RFQ limited the scope of “recent”

past performance to that which was performed within three years prior to the solicitation closing

date. Id.

       48.     Each offeror would be assigned one of the below confidence ratings for its past

performance under Factor 4:




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Id.

       49.     Price was to be evaluated under Factor 5 based on a review of each offeror’s Basis

of Estimate (“BOE”) provided in the pricing spreadsheet as well as the submitted pricing

narrative. Id. Quotations would be evaluated “by adding the total price for all options to the

total price for the basic requirement.” Id. at 18.

       50.     Price would not be rated adjectivally. Id. Rather, “[p]rices for the base and option

periods, including the 6-month option available under FAR 52.217-8, will be evaluated to

determine fair and reasonableness.” Id. “The Government will also evaluate in accordance with

FAR 8.405-3(b)(2)(vi).” Id. The Agency further reserved the right to conduct a price realism

analysis.

       51.     The RFQ specified the relative importance of the evaluation factors and

subfactors, as follows:

       Factors 1 and 2 are equally important and are more important than factors 3, 4, and
       5. Factors 3-5 are listed in descending order of importance. The individual factors
       will be rated holistically, and will comprise one confidence level rating for each
       factor, except price. The non-price factors are significantly more important than
       factor 5, price.

       Subfactors will not be rated separately. Subfactors will be treated equally within
       each factor.

Id.

       52.     The RFQ also set forth the following basis for award:

       An award will be made to the responsible contractor whose quote, conforming to
       the solicitation, is determined to be the best overall value to the Government,
       considering the tradeoff between non-price and price factors.

       The Government may be willing to pay a price premium for quote features that
       reduce the risk of unsuccessful contract performance, provide increased technical
       capability or greater benefits to the Government. The Government may also award




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       to other than the highest technically rated quote, if it determines that a price
       premium is not warranted. As quotes approach equality (does not mean “equal”
       because all quotes are different), price may become a determining factor.

Id. at 18-19.

   B. Prior Evaluations, Protests, and Corrective Action.

       53.      CAC timely submitted its Phase 1 quotation on or about January 27, 2023. CAC

also timely submitted its Phase 2 quotation on or about March 20, 2023. On or about March 28,

2023, CAC provided an oral presentation to the Agency and submitted amended Phase 2

documentation in accordance with Amendment 2 to the RFQ.

       54.      On May 11, 2023, following the Agency’s initial evaluation, the Agency notified

CAC that it had not been selected for award, and that a contract had been issued to Chapman

Freeborn at a value of approximately $2.8 billion. Exhibit 4 at 1.

       55.      Both CAC and CSI filed protests with the GAO, challenging the Agency’s award

to Chapman Freeborn. See Classic Air Charter, Inc., B-421683.1; CSI Aviation, Inc., B-

421683.2. Among other things, CAC’s protest challenged the Agency’s unreasonable evaluation

of quotations, failure to conduct a proper price reasonableness analysis, and failure to reasonably

determine whether Chapman Freeborn was a responsible offeror.

       56.      In June 2023, the Agency undertook voluntary corrective action in response to

CAC’s and CSI’s protests. The Agency subsequently terminated Chapman Freeborn’s contract

award in August 2023 and, following a reevaluation of the acceptability of quotation submissions

under the RFQ, excluded Chapman Freeborn from the competition. See Chapman Freeborn

Airchartering, Inc., B-421683.3, Nov. 30, 2023, 2024 CPD ¶ 197 at 4.




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        57.     On or about October 17, 2023, the Agency issued Amendment Three to the RFQ,

which made administrative changes and provided additional instructions for offerors, and opened

discussions with CAC. See Exhibit 5; Exhibit 6.

        58.     On October 26, 2023, CAC filed another GAO protest, challenging the terms of

Amendment Three and the discussions conducted by the Agency. See Classic Air Charter, Inc.,

B-421683.4, Jan. 19, 2024, 2024 WL 663179.

        59.     On October 27, 2023, the Agency issued Amendment Four to the RFQ, with the

intent of clarifying Amendment Three and the Agency’s discussions. See Exhibit 7. Among

other things, Amendment Four clarified that “[t]he evaluation factors from the January 23, 2023

RFQ have not changed and remain applicable to this procurement.” Id. at 1 (“Amendment 3 did

not add or change any evaluation criteria. Amendment 3 included submission instructions and

clarifications.”).

        60.     CAC timely submitted a revised quotation in accordance with Amendment Three,

Amendment Four, and the Agency’s discussions.

        61.     The Agency issued additional discussions to CAC on January 5, 2024 and

February 7, 2024. See Exhibit 8; Exhibit 9. Each time, CAC responded with timely

submissions providing the requested information and clarifications to the Agency.

        62.     On March 8, 2024, CAC received from the Agency a Notification of Unsuccessful

Offeror & Brief Explanation of Award, which explained that “[CAC] ha[d] not been selected for

award under the subject RFQ” and identified CSI as the awardee. Exhibit 10 at 1.

        63.     CSI’s quoted price, inclusive of options but exclusive of FAR 52.217-8, was

$3,219,266,171.80. Id. The amount of CSI’s award, inclusive of the base and all options, was

$3.6 billion. Exhibit 11 at 1. CSI’s contract award had a period of performance extending from




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March 8, 2024 to March 7, 2029. Id. This period of performance was to conclude just days

before the expiration of the last option period of the GSA Schedule under which CSI submitted

its quotation. Compare id. (showing an award date of March 8, 2024 and the end of the period of

performance of CSI’s award as March 7, 2029) with Exhibit 12 (showing an expiration date of

the last option period of CSI’s GSA Schedule of March 9, 2029); see also Exhibit 2 at 7 (“In

order to be eligible to compete, the total period of performance under the contractor’s GSA FSS

must be in full force and effect for at least 60 months beyond the award date of the BPA via the

exercise of available, unexercised options. … Prime Contractors, only, must have 60 months

(beyond award) remaining on their GSA Schedule.”); Exhibit 13, Question No. 9 (“If the

contractor is on their last 5 year option period they will be ineligible to compete. This is a FAR

requirement and cannot be changed.”) (quoting FAR 8.405-3).

       64.     The Agency provided the following summary of CAC’s evaluations scores under

each factor:




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Exhibit 10 at 2.

       65.     The Agency also provided the following brief explanation of the basis for its

decision to issue an award to CSI:

       Based upon the Government’s evaluation of all quotes received and based upon the
       relative importance of the factors as established in the RFQ, the Government
       conducted a tradeoff between non-price and price factors and has determined that
       CSI Aviation Inc. provides the best value to the Government.

Id.

       66.     On March 18, 2024, CAC filed a protest with the GAO, challenging numerous

aspects of the Agency’s evaluation, including the Agency’s evaluation of CSI’s quotation under

Factor 2—Aircraft Availability and Commitment, and Factor 4—Past Performance. See Classic

Air Charter, Inc., B-421683.5, B-421683.6. CAC supplemented its protest to raise additional

allegations after reviewing the Agency Report.

       67.     On May 24, 2024, the GAO held outcome prediction Alternative Dispute

Resolution (“ADR”) and advised the parties that, if a decision on the merits were to be reached,

the GAO would likely sustain CAC’s protest allegations challenging the Agency’s evaluation of

CSI’s quotation under Factors 2 and 4. The GAO also indicated that it would be likely to

determine that the Agency’s best-value determination was flawed, and that CAC was prejudiced

by the Agency’s material evaluation errors.

       68.     On May 29, 2024, the Agency filed (yet another) a Notice of Corrective Action.

See Exhibit 1. In that Notice of Corrective Action, the Agency represented to the GAO and to

CAC that it would take the following corrective actions:

       In accordance with the recommendations from the outcome prediction Alternative
       Dispute Resolution, the Agency will re-evaluate CSI’s Factor 2—Aircraft
       Availability and Commitment and Factor 4—Past Performance proposals.




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       Consequently, the Agency intends to issue a new Source Selection Decision with a
       new best value tradeoff.

Id. (emphasis added).

       69.     The Agency was clear and specific in representing to the GAO, and to CAC, the

corrective action it planned to undertake in response to the GAO’s determinations at outcome

prediction ADR. Id. The Agency did not notify the GAO or CAC of any intent to, or otherwise

reserve the right to, expand the scope of its corrective action beyond what was represented in its

Notice of Corrective Action. Id.

       70.     In reliance on the Agency’s representations, the GAO dismissed CAC’s protest as

academic on May 31, 2024.5

       71.     Less than two weeks later, however, the Agency reversed course.

       72.     On June 10, 2024, to kick off its purported “corrective” action reevaluation, the

Agency requested revised quotation submissions from offerors. See Exhibit 14.

       73.     CAC filed yet another GAO protest on June 13, 2024, challenging the Agency’s

implementation of corrective action as reflected in the June 10 Letter. See Classic Air Charter,

Inc., B-421683.8. Generally, CAC contended that the Agency unreasonably and unlawfully

abandoned the corrective action it represented to the GAO that it would undertake—and upon

which the GAO specifically relied in dismissing CAC’s prior protest—in favor of a radically

different corrective action which allowed for broad quotation revisions and a broad reevaluation




5
  Following dismissal of its GAO protest as academic, CAC initiated an entitlement action,
docketed as B-421683.7, in which it memorialized the agreement between the Agency and CAC
that CAC was entitled to recover its attorneys’ fees and costs related to its successful protest. See
Classic Air Charter, Inc., B-421683.7—ENT.



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of quotations, and which gave CSI another opportunity to cure the material defects in its quote

which were previously ignored by the Agency.

       74.     In response to CAC’s protest, the Agency promptly rescinded the June 10 Letter.

Exhibit 15. Because the Agency rescinded the June 10 Letter, the GAO subsequently dismissed

CAC’s protest as academic.

       75.     After a four-month lapse in procurement activity, the Agency issued a letter to

CAC on October 23, 2024, in which the Agency indicated that it had “performed a post-

corrective action review and evaluation of [CAC’s] quote” and was “establish[ing] a competitive

range and conduct[ing] discussions.” Exhibit 16 at 1.

       76.     The only practical difference between the rescinded June 10 Letter and the

October 23 Letter was a four-month delay, which allowed the Agency cover to request updated

aircraft commitments from both offerors under Factor 2 to replace the expiring commitments

contained in prior quotation submissions. Thus, the Agency sidestepped its obligation to

reevaluate CSI’s materially deficient quotation, as submitted prior to the March 2024 award,

under Factors 2 and 4—despite its unequivocal commitment to the GAO to do so in exchange for

dismissal of CAC’s meritorious protest.

       77.     Contrary to its promised corrective action, the Agency’s October 23 Letter instead

solicited completely new submissions from CSI and CAC under Factors 1, 2, and 5. This

expansion not only deviated from the promised corrective action and disregarded any time-

sensitive implementation concerns, but also subjected CAC to re-review in areas where it had

already received                     adjectival ratings and proposed            price. The errors

highlighted by the GAO which prompted the Agency to undertake corrective action were limited




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to errors in the evaluation of CSI’s quotation, and the solicitation of revised quotations was

neither necessary nor appropriate in light of the errors found or corrective action promised.

       78.     CAC timely submitted its final revised quotation on October 30, 2024 in

accordance with the Agency’s instructions in the October 23 Letter. Exhibits 17-25.

       79.     CAC also filed an Agency-level protest on November 1, 2024, in which CAC

explained that (1) the Agency engaged in an effective bait-and-switch whereby it deviated

dramatically from the represented corrective action and sought, instead, to allow CSI the

opportunity to shore up the weak aspects of its quotation; and (2) CSI was no longer eligible,

under the terms of the RFQ and the FAR, to compete for a contract award because it lacked the

necessary period of performance remaining on its GSA Schedule to span the potential period of

performance of a contract awarded under the RFQ. Exhibit 26 at 2-3.

       80.     On December 5, 2024, the Agency issued a perfunctory denial of CAC’s Agency-

level protest. See Exhibit 27. In that response, the Agency claimed that it did not deviate from

the corrective action promised to the GAO, and that CSI remained an eligible offeror:

       CAC misunderstands the relevance of CSI’s GSA Schedule expiring on March 9,
       2029. If the current award stands as awarded, March 8, 2024, 60 months beyond
       the award date would be March 7, 2029, which is two days prior to the expiration
       of CSI’s GSA Schedule. Furthermore, the period of performance on BPA
       #70CDCR24A00000001 with CSI is March 8, 2024 through March 7, 2029. The
       Government has no intention of extending the period of performance once the stop
       work order is lifted.

Id. at 6 (emphasis added).

   C. The Agency’s January 31, 2025 Award Decision.

       81.     On January 31, 2025, the Agency issued another Notification of Unsuccessful

Offeror and Brief Explanation of Award, informing CAC that it had not been selected for award

and reaffirming the award issued to CSI. Exhibit 28 at 1.




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       82.     The Agency confirmed that CSI’s quoted price was $3,219,226,171.80, exclusive

of FAR 52.217-8. Id. CSI’s awarded price, inclusive of all options and reflective of CSI’s total

evaluated price, remained $3.6 billion. See Exhibit 11.

       83.     The Agency provided the following details of its evaluation of CAC’s quotation:




Exhibit 28 at 2.

       84.     The Agency also offered the following explanation of its award decision:

       Based upon the Government’s evaluation of all quotes received and based upon the
       relative importance of the factors as established in the RFQ, the Government
       conducted a tradeoff between non-price and price factors and has determined that
       CSI Aviation Inc. provides the best value to the Government.

Id.

       85.     This timely Complaint follows.




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                                               Count I

 The Agency’s Corrective Action Reevaluation of CAC’s Quotation under Factor 4—Past
  Performance was Arbitrary, Capricious, and Otherwise Not in Accordance with Law.

          86.    CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          87.    For purposes of the evaluation under Factor 4—Past Performance, the Agency

was to evaluate each offeror’s prior performance of the projects submitted for purposes of the

Factor 1—Corporate Experience evaluation. See Exhibit 2 at 12 (“The contractor shall identify

the projects under Phase 1, Part 2 (Corporate Experience) that were evaluated using CPARS as

well as any references that can be contacted to confirm past performance.”).

          88.    The RFQ set forth the following criteria to be used by the Agency in evaluating

offerors under Factor 4—Past Performance:

          The Government will evaluate the quality of services provided by the contractor
          (and teaming partners) to the agency and other organizations as a prime contractor
          and/or subcontractor. The past performance evaluation assesses the contractors’
          performance under previously awarded contracts. The past performance evaluation
          is an assessment of the Government’s level of confidence in the contractor’s ability
          to successfully perform the solicitation requirements.

          The Government will assess its confidence that the contractor will successfully
          perform the work based on its past performance. In addition to the CPARS
          assessments (interim and final) and reference checks on project[s] submitted during
          Phase 1, the Government reserves the right to use other information in its
          assessment. The Government will consider the recency and relevance of the
          information obtained, source of the information, and information about the quality
          of services provided.

          A less than positive CPARS assessment (interim or final) or a less than positive
          reference check may result in lowered confidence by the Government. The
          Government will assign one overall rating for the past performance factor.

          Past performance shall be evaluated for each contractor using the following levels
          of confidence ratings:




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Id. at 16-17.

       89.      CAC’s quotation included        examples of recent and relevant projects to be

considered for the Factor 1—Corporate Experience, and Factor 4—Past Performance

evaluations. Exhibit 20 at 5-8. As its                 , CAC submitted



                                                                                   Id. at 5-6. As

its               , CAC submitted



                                         Id. at 6-8.

       90.      Considering that CAC’s submitted projects

                                                                                 it is beyond

dispute that CAC’s past performance examples were recent and extraordinarily relevant.

       91.      This is confirmed not only in CAC’s quotation submissions, see generally id., but

also by the Agency’s assessment of a                         rating to CAC under Factor 1—

Corporate Experience, wherein the Agency evaluated these same projects for recency, relevancy,

and success in performance. See Exhibit 2 at 14 (“The Government will evaluate the



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contractors’ experience providing [the] same or similar services to the requirements listed in the

SOW. The Government will evaluate recent (active within the last three years) and relevant

projects (similar in scope and complexity) for [the] same or similar services. Projects that are

more similar to the proposed work, in scope and complexity, may be seen as more relevant than

efforts that are less similar in these areas.”); id. (explaining that a “High Confidence” rating

would be assigned where “[t]he Government has high confidence that the contractor’s

experience will aid in successfully performing under the contract.”) (emphasis in original).

         92.      To evaluate the quality of each offeror’s past performance projects, and to form its

confidence rating, the Agency was to evaluate each offeror’s CPARS ratings. Id. at 17. The use

of CPARS for the Factor 4 evaluation was appropriate, because “CPARS is the official source for

past performance information.” FAR 42.1501(b).

         93.      As defined in the FAR, CPARS ratings of “Satisfactory,” “Very Good,” and

“Exceptional” are positive ratings, used to describe performance meeting or exceeding

contractual requirements. See FAR 42.1503, Table 42-1; see also id. (“A fundamental principle

of assigning ratings is that contractors will not be evaluated with a rating lower than Satisfactory

solely for not performing beyond the requirements of the contract/order.”).

         94.      CAC’s CPARS for the               projects submitted with its quotation and

evaluated under Factor 4—Past Performance were entirely positive:

         Period
        Quality
       Schedule
      Cost Control
      Management

6
    CAC’s rating for                  in its CPARS
            is not accurately reflected in the CPARS system. While the rating reflected in the



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     Small Business
     Subcontracting
       Regulatory
      Compliance

      Other Areas


See Exhibits 29-31.

         95.    Thus, as shown above, CAC met or exceeded requirements for each rating period

for its submitted past performance projects. See FAR 42.1503, Table 42-1 (defining CPARS

ratings).

         96.    Inexplicably, however, the Agency only found                        in CAC’s

ability to successfully perform essentially the same work scope and requirements, again, under

the RFQ.7 Exhibit 28.

         97.    CAC’s CPARS reflect no rational or plausible basis for a determination by the

Agency that it had any less than “a high expectation that the contractor will successfully

perform.” Exhibit 2 at 17.

         98.    CAC’s CPARS prove that CAC successfully performed




CPARS system

                                    Exhibit 31.
7
    Considering that CAC’s




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                                            There existed no “less than positive CPARs

assessment,” or other “less than positive” past performance rating, which could justify “lowered

confidence by the Government” in CAC’s ability to successfully perform. Id.

       99.     Indeed, the Agency is well familiar with, and has obtained the benefit of, CAC’s

                                                                              called for under the

RFQ.

       100.    The Agency’s finding of only                          rather than

              that CAC will successfully perform under the RFQ thus cuts against the weight of

contemporaneously documented evidence from “the official source for past performance

information,” FAR 42.1501(b) regarding CAC’s performance capabilities.

       101.    The Agency’s decision to downgrade CAC’s past performance score under Factor

4 to                      defies rationality and reason, and it reflects a prejudicially arbitrary and

capricious evaluation in which the Agency ignored clear evidence undermining its evaluation

findings and failed to score CAC in accordance with the RFQ criteria. See, e.g., Mortgage

Contracting Servs., LLC v. United States, 153 Fed. Cl. 89, 129 (2021) (“[C]ourts will reject an

agency’s determinations if they are unreasonable.”); Banknote Corp. of Am. v. United States, 365

F.3d 1345, 1350-51 (Fed. Cir. 2004) (“[A] reviewing court shall set aside the agency action if it

is ‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.’”)

(citations omitted); BayFirst Sols., LLC v. United States, 102 Fed. Cl. 677, 684 (2012)

(“Examples of arbitrary and capricious agency action include when the agency ‘entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or [the decision] is so implausible that it could not be

ascribed to a difference in view or the product of agency expertise.’”) (quoting Ala. Aircraft




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Indus., Inc.—Birmingham v. United States, 586 F.3d 1372, 1375 (Fed. Cir. 2009) (alteration in

original)); see also, e.g., Philips Healthcare Informatics, B-405382.2, May 14, 2012, 2012 CPD

¶ 220 at 8 (“[W]e conclude that the agency’s evaluation of past performance was unreasonable,

inconsistent with the RFP, and insufficiently documented. Accordingly, we sustain the protest on

this basis.”); General Revenue Corp., et al., B-414220.2, et al., Mar. 27, 2017, 2017 CPD ¶ 106

at 11 (“[A]n agency’s past performance evaluation is unreasonable where the agency fails to give

meaningful consideration to available relevant past performance information.”); id. at 13 (“[T]he

record does not support the reasonableness of the agency’s evaluation of TGSL’s past

performance. The TEC found TGSL’s three past performance references to be highly relevant,

and the agency noted positive indicators of performance on TGSL’s highly relevant contracts;

nonetheless, the agency assigned TGSL a satisfactory rating overall.”).

       102.    Had the Agency properly evaluated CAC’s past performance under Factor 4 in a

manner consistent with the stated criteria and contemporaneous records, it would have

undoubtedly assigned CAC a rating of                       and fully acknowledged the overt and

unequivocal merits of CAC’s past performance.

       103.    In turn, the Agency would have recognized that CAC’s past performance, as

evaluated both adjectivally and on the basis of clear substantive merit, was no worse than equal

to CSI’s past performance under Factor 4.8



8
  Considering that CAC received                        ratings under Factors 1-3, and that CSI was
the higher-priced offeror, CSI presumably received a rating of                      under Factor
4, such that CSI was perceived by the Agency to be the higher-rated offeror. To the extent that
CSI was the higher-priced, but not the higher-rated, offeror, a determination that CSI was the
best-value offeror would have been impossible, and this would be yet another basis upon which
to grant judgment in CAC’s favor. See, e.g., Carahsoft Tech. Corp. v. United States, 86 Fed. Cl.
325, 349-50 (2009) (“No amount of agency reasoning could justify selecting a higher-priced
proposal, where a lower-priced and technically equal proposal is available. … [A]n agency



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          104.   Thus, considering that CAC also received                       evaluation scores

under all other non-price factors, and considering that CAC’s evaluated price was more than

$      million lower than CSI’s, a rational evaluation of CAC’s quotation under Factor 4 would

have led to the inevitable conclusion that as the lower-price, and no worse than technically equal,

offeror, CAC presented the best value to the Agency and was to be selected for award. See, e.g.,

Carahsoft Tech. Corp., 86 Fed. Cl. at 349-50 (“No amount of agency reasoning could justify

selecting a higher-priced proposal, where a lower-priced and technically equal proposal is

available. … [A]n agency decision to select a technically equal, higher-priced proposal would

itself be arbitrary and capricious.”).

          105.   Accordingly, the Agency conducted a prejudicially arbitrary and irrational

evaluation of CAC’s quotation under Factor 4—Past Performance, and the Court should grant

judgment in CAC’s favor.

                                              Count II

    The Agency Arbitrarily and Unlawfully Disregarded Price as an Evaluation Factor, and
          Failed to Rationally Evaluate the Reasonableness of CSI’s Quoted Price.

          106.   CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          107.   Per the RFQ, offerors’ quoted prices were to be evaluated to determine whether

such prices were fair and reasonable. Exhibit 2 at 18. The RFQ also explained that, in the

context of the overall evaluation, “price may become a determining factor” as “quotes approach

equality” under the non-price factors. Id. at 19.




decision to select a technically equal, higher-priced proposal would itself be arbitrary and
capricious.”).



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       108.    The Agency’s selection of CSI’s quotation for award—at a price premium of more

than a half billion dollars over CAC’s quotation—makes clear that the Agency ignored the

evaluation criteria of its own RFQ and relegated price to a nominal or non-existent consideration.

CAC’s lower-priced quote, at worst, offered equivalent merit and value to CSI’s quote under the

non-price factors. Given the virtual parity of non-price merit between the offerors, the RFQ

demanded that price become a determining factor.

       109.    The Competition in Contracting Act of 1984 (“CICA”) mandates that price shall

be included “as an evaluation factor that must be considered in the evaluation of proposals.” 41

U.S.C. § 3306(c)(1)(B). “The legislative history of CICA indicates that [the requirement to

include price as an evaluation factor was] designed not only to allow the Federal government to

obtain the ‘best products,’ but to do so at the ‘best prices’—to avoid paying $436 for an ordinary

claw hammer … where it can be bought for $7.’” Serco, Inc. v. United States, 81 Fed. Cl. 463,

491 (2008) (quoting H.R. Rep. 98-1157, at 18 (1984)).

       110.    “[P]rice can neither be a nominal evaluation factor nor relegated to the role of

being a mere consideration in determining whether a proposal is eligible for award.” Id. “[F]or

price to be a significant factor, there must be ramifications if a price substantially exceeds the

norms.” Id. at 492. “[A]n evaluation that fails to give price its due consideration is inconsistent

with CICA and cannot serve as a reasonable basis for an award.” Id. at 491.

       111.    CAC received                           evaluation ratings under virtually every non-

price factor,9 confirming that its quotation was, at worst, at least equal in underlying substantive

merit to CSI’s under the non-price factors. Exhibit 28 at 2.



9
 The only factor under which CAC received                                 rating was Factor 4—
Past Performance, which was also the least important of the non-price evaluation factors.



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       112.    Despite the no more than marginal difference between quotations under the non-

price factors, the Agency completely disregarded the enormous price differential between CAC’s

and CSI’s quotations, directly contradicting its own RFQ scoring methodology, which elevated

the weight of price when non-price scores were nearly equal.

       113.    CSI’s total evaluated price, as reflected by the value of its contract award, was

$3.6 billion. Exhibit 11 at 1. By contrast, CAC’s total evaluated price was $                      —

a reduction of more than $     million from CSI’s price. Exhibit 28 at 2.

       114.    The Agency paid no mind to this truly exorbitant price difference, opting to award

to CSI as the purported best-value offeror. The Agency produced virtually no explanation for

why the expenditure of more than a half billion dollars of additional taxpayer funds was

justified or necessary based on a comparison of non-price quotations and a tradeoff of price and

non-price merits. The only explanation the Agency offered was a recycling of its anemic refrain

from the preceding defective award: “the Government conducted a tradeoff between non-price

and price factors and has determined that CSI Aviation, Inc. provides the best value to the

Government.” Id.

       115.    The Agency’s conclusion was neither rational, nor reasonable, nor within the

bounds of agency discretion, nor consistent with the RFQ evaluation scheme.

       116.    Rather than elevating the importance of the price factor in accordance with the

RFQ criteria, based on the essential equality of CAC’s and CSI’s quotations under the non-price




Exhibit 28 at 2; Exhibit 2 at 18. However, as described supra in Count I, the Agency conducted
a prejudicially irrational evaluation of CAC’s quotation under Factor 4. Had the Agency
conducted a rational evaluation in accordance with the RFQ criteria, CAC would have received
                      evaluation rating under Factor 4 as well.




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factors, see Exhibit 2 at 19, the Agency virtually eliminated the price factor from consideration

and simply ignored the astonishingly steep price premium accompanying CSI’s quotation in

selecting CSI, rather than CAC, as the best-value offeror to receive the contract award.

       117.    The Agency’s relegation of price to an effectively non-existent consideration

violated the stated criteria in the RFQ, the FAR, and CICA. See, e.g., Serco, Inc., 81 Fed. Cl. at

491 (“[P]rice can neither be a nominal evaluation factor nor relegated to the role of being a mere

consideration in determining whether a proposal is eligible for award. These are not minor

distinctions—an evaluation that fails to give price its due consideration is inconsistent with

CICA and cannot serve as a reasonable basis for an award.”) (internal citations omitted); id. at

493 (“[W]hile defendant may have had a good recipe for considering price, it failed to follow

through—and ‘the proof of the pudding is the eating.’ … [O]ne searches in vain for evidence

that the agency not only performed calculations that involved price, but actually acted upon those

results. … Accordingly, the court concludes that GSA gave price neither the weight it was

entitled under the Solicitation nor that which it must be afforded under CICA and the FAR.”)

(citations omitted); Cognosante, LLC, B-417111, Feb. 21, 2019, 2019 CPD ¶ 93 at 5 (where the

agency “did not compare offerors’ prices to one another or make any findings about why

[awardee’s] highest price should be viewed as reasonable, we find that the agency failed to

determine whether offerors’ prices were fair and reasonable); U.S. Info. Techs. Corp., B-404357,

Feb. 2, 2011, 2011 CPD ¶ 74 (sustaining a protest where the record contained no documentation

or evidence reflecting that the agency conducted a proper price reasonableness analysis as

required by FAR Subpart 8.4).

       118.    The Agency did not stop there, however, and instead “compounded this mistake

by failing to conduct a proper price reasonableness analysis.” Id.




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       119.    The RFQ unequivocally required an evaluation of the fairness and reasonableness

of each offeror’s quoted price. Exhibit 2 at 18. “In general, a price reasonableness analysis has

the goal of preventing the government from paying too much for contract work.” EMTA Isaat,

A.S. v. United States, 123 Fed. Cl. 330, 338 n.9 (2015); see also Mortgage Contracting Servs.,

153 Fed. Cl. at 134 (“[A] price reasonableness analysis considers whether an offeror’s price is

too high.”).

       120.    Notably, FAR 8.404(d) provides that agencies generally are not required to make

separate determinations of fair and reasonable pricing in establishing a BPA because, ordinarily,

“GSA has already determined the prices of supplies and fixed-price services, and rates for

services offered at hourly rates, under schedule contracts to be fair and reasonable.” FAR

8.404(d). Here, however, the Agency has opted to obligate itself to conduct a new price

reasonableness analysis in the terms of this RFQ, which states: “Prices for the base and option

periods, including the 6-month option available under FAR 52.217-8, will be evaluated to

determine fair and reasonableness.” Exhibit 2 at 18 (emphasis added). The plain language of

the RFQ further demonstrates that the promised price reasonableness evaluation will be in

addition to the Agency’s evaluation obligations under FAR 8.405-3(b)(2)(vi). See id. (“The

Government will also evaluate in accordance with FAR 8.405-3(b)(2)(vi).”) (emphasis added).

Where the Agency has obligated itself, in the plain terms of the RFQ, to conduct a new price

reasonableness analysis, it must do so—and the analysis must be rational and reasoned, and in

accordance with applicable law and regulation.

       121.    By its selection of CSI as the awardee, however, the Agency made clear that it

failed to conduct any analysis of reasonableness of CSI’s quoted price, let alone an analysis

which was rational, meaningful, and comported with applicable law and regulation.




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        122.    CSI’s price was absurdly high, exceeding the competition by upwards of a half

billion dollars. Compare Exhibit 11 at 1 (showing CSI’s awarded price of $3.6 billion) with

Exhibit 4 (showing an awarded price of approximately $2.8 billion to Chapman Freeborn) and

Exhibit 28 at 2 (showing CAC’s quoted price of approximately $         billion and total evaluated

price, inclusive of all options, of just over   billion).

        123.    Indeed, CSI’s price is even unreasonably high based on a comparison to CSI’s

own performance of the bridge contract for this same requirement.

        124.    CSI was previously awarded a bridge contract, commencing April 1, 2024, to

perform the services being procured under the RFQ during bid protest litigation and the Agency’s

ongoing corrective action reevaluations. See Exhibit 32. Performance of this bridge contract

currently extends through February 28, 2025, and the bridge contract has an awarded value of

$358,704,293.87. Exhibit 33 at 1. Most recently, CSI was awarded a one-month extension of

performance, and corresponding funds in the amount of $29,000,672.72. Id.

        125.    So, over the bridge contract’s eleven-month period of performance, CSI has

performed the same scope of services as required by the RFQ, at an average monthly price of

$32,609,481.26, and a most recent month’s price of just over $29 million.

        126.    By contrast, CSI’s quoted price of $3,219,226,171.80, averaged over the 60-

month period of performance provided in the RFQ, equates to an average monthly price of

$53,653,769.53. See Exhibit 28 at 1.

        127.    One must wonder, then, how the Agency could not have found CSI’s quoted price

to be unreasonably high, where its quoted price appeared to exceed its current price of

performance of the same requirement by more than $21 million per month, when viewed as an

average monthly cost. Compare id. with Exhibit 33 at 1. Where CSI is purportedly providing




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the same services under the bridge contract as are to be provided under the RFQ, see Exhibit 32

at 1-3, an increase in quoted pricing of more than $21 million per month raises serious red flags

about the reasonableness of CSI’s quoted price, to say the least.

       128.    This increase in price is particularly curious because it is typically the bridge

contract, not the long-term award, which is more expensive for the government due to the short-

term period of performance, the lack of competition for sole-source bridge contracts, the sudden

and unexpected nature of the requirement, and the lack of economies of scale that comes with

performance of a bridge contract. See, e.g., Newimar, S.A. v. United States, 163 Fed. Cl. 240,

255 (2022) (explaining that the non-competitive, sole-source bridge contracts “were $100,000 to

$120,000 more expensive per month than [] proposed pricing under the awarded contract” and

resulted in roughly $2.5 million in additional costs over the period of the bridge contract).

       129.    Simply put, the Agency has failed to explain how it determined CSI’s price to be

reasonable, particularly considering the sizeable discrepancy between CSI’s price and the prices

of its competitors, and between CSI’s price under the RFQ and CSI’s own pricing for the same

services under an ongoing bridge contract. See, e.g., Fluor Intercontinental, Inc. v. United

States, 147 Fed. Cl. 309, 336 (2020) (finding error in an agency’s price analysis where “no

discernable, meaningful analysis exists to demonstrate how, despite the wide range in proposed

prices, [the] awardee’s price was fair and reasonable”).

       130.    While “an agency may conclude that an awardee’s price is reasonable if it is

consistent with the prices received from various competitors,” there is no basis for the same

conclusion “if that price is inconsistent with those of competitors.” Serco, Inc., 81 Fed. Cl. at

494 (emphasis in original). “After all, it is not competition for competition’s sake, but the




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favorable comparison of a given offeror’s price to those of the other contestants, that provides

the necessary assurance that a given price is ‘fair and reasonable.’” Id. (citations omitted).

       131.    Absent a rational, contemporaneously documented explanation as to how and why

the Agency found CSI’s inordinately high price to be reasonable, and failing to establish such

reasonableness via a comparison to competitors’ prices or to CSI’s own pricing for ongoing

performance of the same work, the Agency’s prejudicially arbitrary and irrational evaluation, and

the award decision resulting therefrom, cannot stand.

       132.    Indeed, payment of an unreasonably high price—in this case, a price premium of

more than $      million for a quotation of essentially equal non-price merit—is precisely the

scenario sought to be avoided by the conduct of a rational price reasonableness analysis. See,

e.g., Mortgage Contracting Servs., 153 Fed. Cl. at 134; Serco, Inc., 81 Fed. Cl. at 494.

       133.    The Agency’s arbitrary and irrational evaluation (or lack thereof) under Factor

5—Price was undeniably prejudicial to CAC. CAC offered the Agency a non-price quotation of

no worse than equal merit to that offered by CSI, and did so at a price which was more than a

half billion dollars below the price offered by CSI. Had the Agency not unlawfully relegated

price to a nominal or non-existent consideration, had the Agency not arbitrarily ignored the

massive disparity between CAC’s and CSI’s prices, and had the Agency rationally evaluated the

reasonableness of CSI’s inordinately high price, the Agency would have recognized that only

CAC presented a fair and reasonable price, and that award to CAC as the best-value offeror—by

a large margin—was a foregone conclusion in this two-offeror competition. See, e.g., Carahsoft

Tech. Corp., 86 Fed. Cl. at 349-50 (“No amount of agency reasoning could justify selecting a

higher-priced proposal, where a lower-priced and technically equal proposal is available. … [A]n




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agency decision to select a technically equal, higher-priced proposal would itself be arbitrary and

capricious.”).

          134.   Because the Agency acted arbitrarily, irrationally, and in contravention of

applicable law and regulation—and because the Agency’s flawed evaluation caused direct

prejudice to CAC, the only other remaining offeror—the Court should grant judgment in CAC’s

favor.

                                              Count III

     The Agency’s Best-Value Tradeoff was Arbitrary, Irrational, and Otherwise Not in
                                 Accordance with Law.

          135.   CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          136.   The RFQ provided that “[a]n award will be made to the responsible contractor

whose quote, conforming to the solicitation, is determined to be the best overall value to the

Government, considering the tradeoff between non-price and price factors.” Exhibit 2 at 18. To

that end, the RFQ stated that “[t]he Government may also award to other than the highest

technically rated quote, if it determines that a price premium is not warranted.” Id. at 18-19.

          137.   For purposes of the best-value tradeoff analysis, the relative importance of

evaluation factors was defined as follows:

          Factors 1 and 2 are equally important and are more important than factors 3, 4, and
          5. Factors 3-5 are listed in descending order of importance. The individual factors
          will be rated holistically and will comprise one confidence level rating for each
          factor, except price. The non-price factors 1-4 are significantly more important
          than factor 5, price.

Id. at 18.




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       138.    However, the RFQ also explained that “[a]s quotes approach equality (does not

mean ‘equal’ because all quotes are different), price may become a determining factor.” Id. at

19.

       139.    The only explanation offered by the Agency of the best-value tradeoff “analysis”

conducted as part of its latest corrective action reevaluation was as follows:

       Based upon the Government’s evaluation of all quotes received and based upon the
       relative importance of the factors as established in the RFQ, the Government
       conducted a tradeoff between non-price and price factors and has determined that
       CSI Aviation Inc. provides the best value to the Government.

Exhibit 28 at 2.

       140.    The Agency’s best-value tradeoff determination was clearly arbitrary, irrational,

abusive of agency discretion, and otherwise unlawful.

       141.    As detailed supra in Count I, the Agency conducted an arbitrary and irrational

evaluation of CAC’s quotation under Factor 4—Past Performance, substantially underrating

CAC’s directly relevant past performance and failing to recognize the full extent of merit arising

from CAC’s past performance experience. But for the Agency’s prejudicially defective

evaluation, CAC would have received                          evaluation score of

              under Factor 4—Past Performance, based on the underlying substantive merit of its

quotation.

       142.    And, as described supra in Count II, the Agency unlawfully relegated price to a

non-existent consideration, and otherwise failed to evaluate the reasonableness of CSI’s

quotation as required under the Factor 5 of the RFQ. But for the Agency’s prejudicially arbitrary

and unlawful evaluation, the Agency would have determined CSI’s price to be unreasonably high

and unawardable, and would have recognized that the expenditure of more than $         million in




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additional taxpayer dollars for a solution which offered no greater non-price merit was

unjustifiable under these circumstances.

        143.    The Agency’s underlying evaluations of CAC’s and CSI’s quotations were

arbitrary, unlawful, and abusive of agency discretion, and have tainted the Agency’s best-value

tradeoff determination and source selection decision. See, e.g., BayFirst Sols., LLC, 102 Fed. Cl.

at 695 (“Because the ratings that provided the basis for the Agency’s tradeoff analysis and best

value award were fundamentally flawed and arbitrary, the best value award itself was arbitrary

and capricious.”).

        144.    On this basis alone, the Agency’s award to CSI cannot stand.

        145.    However, even setting aside the fundamentally arbitrary and unlawful nature of

the Agency’s underlying factor-by-factor evaluations, the Agency’s best-value tradeoff

determination—and selection of CSI as the awardee at a price premium of more than a half

billion dollars—still reflects a clear abuse of Agency discretion and provides an independent

basis upon which this Court should grant judgment in CAC’s favor.

        146.    Specifically, notwithstanding the evaluation errors described supra in Counts I

and II, CAC’s and CSI’s quotations were still essentially equal in merit under the non-price

evaluation factors, with, at most, a slight difference in adjectival rating between CAC’s and CSI’s

quotations under the least important non-price evaluation factor. See Exhibit 2 at 18; Exhibit 28

at 2.

        147.    Indeed, CAC received                       evaluation marks, and ratings of

               for Factor 1—Corporate Experience, Factor 2—Aircraft Availability and

Commitment, and Factor 3—Technical Capability, as well as an adjectival rating of

               under Factor 4—Past Performance. Exhibit 28 at 2. To have been perceived to be




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the best-value offeror, notwithstanding its price premium of more than $         million over CAC,

CSI must have received ratings of                        under Factors 1-4. To the extent that CSI

did not receive such ratings, this is yet another independent basis upon which the Court must

find the Agency’s source selection decision to be facially arbitrary and unlawful and grant

judgment in CAC’s favor. See, e.g., Carahsoft Tech. Corp., 86 Fed. Cl. at 349-50 (“No amount

of agency reasoning could justify selecting a higher-priced proposal, where a lower-priced and

technically equal proposal is available. … [A]n agency decision to select a technically equal,

higher-priced proposal would itself be arbitrary and capricious.”).

       148.    In any event, even assuming, arguendo, that the Agency awarded CSI a slightly

higher adjectival rating under Factor 4—Past Performance, such a minor difference in adjectival

rating under the least important non-price factor is plainly insufficient to rationally justify

payment of a price premium in excess of a half billion dollars of taxpayer money.

       149.    To repeat, as quotations approached equality under the non-price evaluation

factors, the importance of the price factor was to be elevated, in accordance with the terms of

the RFQ. Exhibit 2 at 19.

       150.    Relatedly, “[l]ogic suggests that as that magnitude [of the price differential

between two offers] increases, the relative benefits yielded by the higher-priced offer must also

increase.” Serco, Inc., 81 Fed. Cl. at 497.

       151.    Considering that the RFQ required the Agency to give elevated importance to the

price factor under these circumstances—and considering the extent of relative benefits that

would be necessary to plausibly overcome a price differential of more than $          million—there

is no way that the Agency could have rationally and reasonably concluded that CSI presented a

better value to the Agency than CAC.




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          152.   Rather, the Agency’s determination reflects an arbitrary tradeoff analysis in which

the Agency improperly diminished the importance of price and placed unjustifiable emphasis on

what were at most miniscule differences in merit under the least important non-price evaluation

factor.

          153.   This is especially true where, as here, the Agency offers nothing more than a

cursory conclusion that it “conducted a tradeoff between non-price and price factors and []

determined that CSI Aviation Inc. provides the best value.” Exhibit 28 at 2; see also, e.g., Serco,

Inc., 81 Fed. Cl. at 497 (“Conclusory statements, devoid of any substantive content … threaten[]

to turn the tradeoff process into an empty exercise. Indeed, … generalized statements that fail to

reveal the agency’s tradeoff calculus deprive this court of any basis upon which to review the

award decisions.”); Distributed Sols., Inc. v. United States, 106 Fed. Cl. 1, 24 (2012) (“Even

though a lower threshold applies for a FAR Part 8 tradeoff analysis, the Court will analyze the

CO’s tradeoff decision to determine whether it is reasonable and within the agency’s

discretion.”); Allied Tech. Grp., Inc. v. United States, 94 Fed. Cl. 16, 49 (2010) (“Even when a

solicitation emphasizes technical merit, an agency ‘may properly select a lower-priced, lower-

technically-rated proposal if it decides that the cost premium involved in selecting a higher-rated,

higher-priced proposal is not justified, given the acceptable level of technical competence

available at the lower price.’ The Court’s main task is to ensure that the CO articulated a

‘rational connection between the facts found and the choice made.’”) (citations omitted); Reli

Grp., Inc. v. United States, --- Fed. Cl. ---, 2025 WL 326403, at *7 (2025) (noting that FAR

Subpart 8.4 imposes documentation requirements, “including a rationale for an agency’s tradeoff

in making its award decision.”).




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          154.   For the reasons described herein, the Agency’s best-value determination defies

rationality, reason, and the terms of the RFQ.

          155.   Accordingly, the Court should grant judgment in favor of CAC.

                                             Count IV

The Agency Breached its Implied Duty to Fairly and Honestly Consider CAC’s Quotation.

          156.   CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          157.   The Agency breached its implied duty to fairly and honestly consider CAC’s

quotation by repeatedly refusing to rationally evaluate CAC’s quotation, refusing to effectuate

the corrective action reevaluation promised to the GAO to obtain dismissal of CAC’s prior

protests, delaying and drawing out the corrective action process to contrive a basis for allowing

CSI to cure the fatal flaws in its Factor 2—Aircraft Availability and Commitment submission

related to the March 2024 award, refusing to account for the difference of more than $

million in offerors’ quoted prices, and refusing to consider CAC’s equally meritorious but

significantly lower priced quotation in a non-arbitrary fashion.

          158.   When soliciting quotations, the Agency impliedly promises to give fair and honest

consideration to all offers received. See, e.g., CACI, Inc.—Federal v. United States, 719 F.2d

1567, 1573 (Fed. Cir. 1983) (“[B]y the solicitation for bids, the Government impliedly promised

that it would give honest and fair consideration to all bids received….”); Safeguard Base Ops.,

LLC v. United States, 989 F.3d 1342 (Fed. Cir. 2021) (finding jurisdiction over implied-in-fact

contract claims in the procurement context under § 1491(b)(1)); Tender Years Learning Corp. v.

United States, 128 Fed. Cl. 265, 271 (2016) (“When a bidder submits a bid in a competitive




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solicitation such as the one at issue in this case, an implied-in-fact contract arises between the

bidder and the Government to fairly and honestly consider the bid.”).

       159.    “The ultimate standard for determining whether an unsuccessful bidder is entitled

to relief on the ground that the government breached the implied-in-fact contract to consider all

bids fairly and honestly is whether the government’s conduct was arbitrary and capricious.”

J.C.N. Constr., Inc. v. United States, 107 Fed. Cl. 503, 517 (2012); see also Medline Indus., Inc.

v. United States, 155 Fed. Cl. 522, 541 (2021) (“The United States breaches this implied contract

[to evaluate proposals fairly and honestly] if the Court finds that the United States’

‘consideration of offers is … arbitrary and capricious toward the bidder-claimant.’”) (quoting

Cent. Arkansas Maint., Inc. v. United States, 68 F.3d 1338, 1341 (Fed. Cir. 1995)). “[T]he Court

may award ‘bid preparation and proposal costs’ should it find the United States in breach.”

Medline Indus., Inc., 155 Fed. Cl. at 541.

       160.    A claim asserting breach of the implied duty to fairly and honestly consider

quotations is not a claim that the agency acted in bad faith. See, e.g., Innovative Test Asset Sols.,

LLC v. United States, 125 Fed. Cl. 201, 216 (2016) (explaining that a claim of breach of the

implied duty to fairly and honestly consider a quotation “is separate and distinct from a claim

that the government acted in bad faith.”); Kogan v. United States, 112 Fed. Cl. 253, 265 (2013)

(“[P]roof of bad faith is not required to show a breach of the implied duty of good faith and fair

dealing.”) (internal quotations & citations omitted).

       161.    “To recover under the implied covenant for bids to be fairly and honestly

considered, a plaintiff has to establish arbitrary and capricious action by the government.”

Castle-Rose, Inc. v. United States, 99 Fed. Cl. 517, 531 (2011). In determining whether an

agency breached the implied duty by acting arbitrarily and capriciously, the Court may consider




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several factors, such as whether a reasonable basis for the agency’s decision existed or whether

there existed a proven violation of statute or regulation. See, e.g., J.C.N. Constr., Inc., 107 Fed.

Cl. at 517 (citations omitted). The Court may also “consider whether the decision was based on

a consideration of the relevant factors and whether there has been a clear error in judgment.”

Medline Indus., Inc., 155 Fed. Cl. at 541 (citations omitted).

       162.    By soliciting quotations under the RFQ, the Agency was bound to give fair and

honest consideration to CAC’s quotation.

       163.    As established in this Complaint, and in CAC’s numerous prior protests of this

procurement, the Agency has not fairly or honestly considered CAC’s quotation submitted in

response to the RFQ. Rather, the Agency’s actions in conducting the subject procurement are

prejudicially arbitrary and capricious, constitute a clear and prejudicial abuse of agency

discretion, and are otherwise violative of applicable law and regulation.

       164.    The Agency has failed to rationally evaluate CAC’s quotation, has failed to

rationally effectuate the corrective action promised in exchange for dismissal of CAC’s prior

protests, and has completely failed to rationally consider price in its selection of the contract

awardee under the RFQ. There can be no rational basis for the Agency’s decision to award the

best-value contract in question to CSI, where CAC’s quotation presented an approach under the

non-price factors which was no worse than equal to that presented by CSI and where CAC’s

price was more than a half billion dollars lower than CSI’s price.

       165.    Rather than conducting a fair and honest evaluation of CAC’s quotation, it is now

clear that the Agency has strung CAC along—through countless rounds of error-filled

evaluations, protest litigations, and promises of meaningful corrective action—in a pattern of

behavior reflective the Agency’s intent to reaffirm the award to CSI notwithstanding CSI’s price




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premium of more than $        million, and notwithstanding CAC’s outstanding and significantly

lower-priced solution.10

          166.   Accordingly, the Agency has breached the implied-in-fact contract to consider

CAC’s quotation fairly and honestly, and CAC is entitled to relief on this basis, including but not

limited to recovery of its bid preparation and proposal costs, the amount of which should be

determined by a separate proceeding if the Agency and CAC are unable to reach an informal

resolution. See, e.g., Medline Indus., Inc., 155 Fed. Cl. at 533.

          167.   The Court should, therefore, grant judgment in favor of CAC and award CAC its

bid preparation and proposal costs, in an amount to be determined separately.

                                              Count V

 The Agency’s Arbitrary, Capricious, and Otherwise Unlawful Actions Caused Undeniable
                                   Prejudice to CAC.

          168.   CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          169.   CAC suffered undeniable prejudice as a result of the Agency’s arbitrary,

capricious, and otherwise unlawful acts described herein because, but for such improper conduct,

CAC would have had more than a substantial chance of receiving one of the contract awards.

          170.   “A protester’s showing of prejudice differs depending upon the nature of the

protest.” Square One Armoring Serv., Inc., 123 Fed. Cl. at 320. Generally, in the context of a




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  The Agency has not even attempted to disguise its intent of reaffirming its award to CSI
without meaningfully considering whether CAC’s quotation presents a better value. See, e.g.,
Exhibit 27 at 6 (“[T]he period of performance on BPA #70CDCR24A00000001 with CSI is
March 8, 2024, through March 7, 2029. The Government has no intention of extending the
period of performance once the stop work order is lifted.”) (emphasis added).




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post-award protest, “a protester demonstrates the requisite prejudice by showing that it would

have had a ‘substantial chance’ of receiving the contract award but for the alleged errors in the

procurement process.” Id.

          171.   To satisfy the “substantial chance” standard, the plaintiff must “show that ‘had the

alleged errors been cured, … its chances of securing the contract [would have] increased.’” Blue

Water Thinking, LLC v. United States, 159 Fed. Cl. 65, 75 (2022) (quoting Precision Asset

Management Corp. v. United States, 125 Fed. Cl. 228, 233 (2016)).

          172.   CAC suffered undeniable prejudice as a result of the Agency’s actions described

herein.

          173.   CAC is a highly qualified and highly capable incumbent offeror. CAC received

                      scores under nearly every non-price evaluation factor, and received

outstanding marks in every category. Additionally, CAC submitted a fair and reasonable price

quotation under Factor 5, with a quoted price of                       and a total evaluated price

(inclusive of all options) of                    . Exhibit 28 at 2. So, CAC had impossible-to-

beat evaluation scores under virtually every non-price evaluation factor, and its total evaluated

price was more than $        million less than CSI’s total evaluated price of $3.6 billion, as

reflected in the amount of the contract award issued. Exhibit 11 at 1. Not to mention, CAC is

the only other offeror still in the running for the contract award.

          174.   As described supra in Count I, the Agency conducted an arbitrary and irrational

evaluation of CAC’s quotation under Factor 4—Past Performance. Had the Agency conducted a

rational and reasoned evaluation of CAC’s past performance under Factor 4, in accordance with

the RFQ, the Agency would have recognized the full extent of underlying merit in CAC’s

quotation, and would have awarded CAC a score of “High Confidence.” As such, CAC’s




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positioning relative to CSI—on the basis of adjectival rating, and on the basis of underlying

substantive merit—would have improved for purposes of both the Factor 4—Past Performance

evaluation and the best-value tradeoff analysis, and selection of CAC as the awardee would have

been a foregone conclusion considering CAC’s price advantage of more than a half billion

dollars.

           175.   Further, and as detailed supra in Count II, the Agency completely disregarded

price as an evaluation factor, and failed to conduct a rational evaluation of the reasonableness of

CSI’s quoted price. Had the Agency rationally and reasonably evaluated CSI’s quoted price, it

would have found CSI’s quoted price to be unreasonably high. And, had the Agency given due

consideration to offerors’ quoted prices—and, critically, the difference of upwards of $

million between CAC’s reasonable price and CSI’s unreasonably high price—there is a

substantial likelihood that the Agency would have selected CAC—an equally or more qualified

and capable offeror than CSI, with a substantially lower quoted price—to receive the contract

award.

           176.   Moreover, as described supra in Count III, the Agency conducted a materially

defective best-value tradeoff analysis. Considering CAC’s and CSI’s comparative evaluation

scores and relative merits, and that CAC’s quotation was no worse than equal to CSI’s quotation

in terms of non-price merit, there was no rational or plausible basis for finding that CSI’s

quotation warranted award notwithstanding its price premium of more than a half billion dollars.

Had the Agency rationally evaluated quotations, and conducted a reasoned best-value tradeoff

analysis, the Agency almost certainly would have selected CAC’s technically equivalent, but

significantly lower priced, quotation.




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         177.   Finally, as detailed supra in Count IV, the Agency breached its implied duty to

fairly and honestly consider CAC’s quotation. Had the Agency fairly and honestly considered

CAC’s quotation, and appropriately recognized both the substantial merit in CAC’s quotation

under the non-price factors and the significant price advantage of CAC’s quotation—which was

more than $      million less than the price quoted by the awardee—CAC, the only other offeror

still in the running, would have had a more than substantial likelihood of being selected for

award as the best-value offeror.

         178.   Thus, it is beyond dispute that, but for the improper Agency actions described

herein, CAC—a highly capable and highly qualified incumbent offeror, with a price advantage of

more than a half billion dollars over CSI—would have had a more than substantial likelihood of

receiving an award under the RFQ as the best-value offeror. See, e.g., BayFirst Sols, LLC, 102

Fed. Cl. at 695 (“If a proper evaluation of proposals had occurred, and the errors pointed out …

had been avoided, the technical factor ratings could easily have been much closer than those

erroneously produced by the TEP and endorsed by the SSA. There is a substantial chance that

the SSA’s tradeoff analysis would then have indicated that BayFirst’s proposal, not VSI’s higher-

priced proposal, provided the best value to the government. The court is satisfied that BayFirst

had a substantial chance of award, and was prejudiced by the procurement errors.”).

         179.   In sum, CAC has suffered undeniable prejudice as a result of the Agency’s

arbitrary, irrational, and otherwise unlawful acts, and the Court should grant judgment in its

favor.




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                                              Count VI

                         CAC is Entitled to Permanent Injunctive Relief.

          180.   CAC incorporates by reference the above-numbered paragraphs as if fully stated

herein.

          181.   CAC respectfully requests that the Court issue a permanent injunction barring the

Agency from proceeding with performance of the contract awarded to CSI because, as described

herein, that contract award arose from a prejudicially arbitrary and unlawful evaluation of

quotations and source selection decision.

          182.   To obtain injunctive relief, a protester must generally demonstrate (1) success on

the merits; (2) irreparable harm if the injunction is not granted; (3) that the balance of hardships

weighs in the protester’s favor; and (4) that an injunction is in the public interest. Superior

Optical Labs, Inc. v. United States, 152 Fed. Cl. 319, 323 (2021) (citing PGBA, LLC v. United

States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004)).

          183.   Based on the foregoing, CAC has established, with near certainty, that it is likely

to succeed (again) on the merits. The Agency conducted an irrational evaluation of CAC’s

quotation under Factor 4—Past Performance. Further, the Agency arbitrarily disregarded price

as an evaluation factor, and failed to conduct a rational and reasonable analysis of the

reasonableness of CSI’s quoted price. Moreover, the Agency conducted a prejudicially defective

best-value tradeoff analysis, as a result of which it erroneously selected CSI for award, at an

obscene price premium of more than a half billion dollars, over CAC—a highly qualified and

highly capable incumbent offeror, who received the highest possible evaluation scores under

nearly every non-price factor and whose price was more than           million less than the price




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quoted by CSI. Finally, the Agency clearly breached its implied duty to fairly and honestly

consider CAC’s quotation. In short, the Agency’s actions lacked a rational basis.

       184.    If the Court does not grant a permanent injunction, CAC will suffer irreparable

harm because, inter alia, “[t]he loss of potential work and profits from a government contract

constitutes irreparable harm.” Springfield Parcel C, LLC v. United States, 124 Fed. Cl. 163, 195

(2015) (“Competitive detriment to plaintiffs stemming from a denial of a fair opportunity to

participate in a lawful procurement process ‘also engenders irreparable harm.’”) (citations

omitted). Irreparable harm to CAC is not, however, limited to the loss of opportunity to perform,

and profit from, this multi-billion-dollar contract opportunity. CAC will also be deprived of the

opportunity to earn valuable experience and past performance that, in turn, can be used to obtain

future contract awards. See Decl. of D. Carson at ¶¶ 4-6.

       185.    The balance of hardships also weighs in favor of a grant of permanent injunctive

relief to CAC. The Government does not suffer harm if it is barred from proceeding with an

arbitrarily and unlawfully issued contract award as a result of the issuance of injunctive relief.

Nor will a grant of injunctive relief unduly delay this procurement, which has already been

prolonged by repeated evaluation errors by the Agency, numerous Agency-caused protests, and

multiple rounds of voluntary corrective action undertaken by the Agency. See, e.g., Fed.

Acquisition Servs. Team, LLC v. United States, 124 Fed. Cl. 690, 708 (2016); Reilly’s Wholesale

Produce v. United States, 73 Fed. Cl. 705, 716 (2006) (finding that no exceptional case exists in

which delay alone would warrant a denial of injunctive relief, “particularly as it appears that

some of the problems encountered here are, at least in part, of defendant’s own making.”). To

the extent necessary services must still be performed, the Agency can continue to obtain such




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services through short-term bridge contracts, as it has now done for several years as it has

struggled, time and time again, to conduct a fair and rational evaluation and selection decision.

       186.       To the extent that the Agency claims some economic harm from the need to

conduct yet another reevaluation, this harm is insufficient to tip the balance of hardships out of

CAC’s favor. See, e.g., Springfield Parcel C, LLC, 124 Fed. Cl. at 195 (“Although the

government may suffer economic harms, the ‘burden of reprocurement costs occurs whenever an

improper award of a contract is set aside,’ and that alone does not affect the balance of harms

here.”) (citations omitted).

       187.       While CSI may claim to suffer harm from the loss of its contract award upon the

issuance of an injunction and following a fair and rational evaluation of quotations, CSI had no

rightful expectation of a contract award in the first instance, and only received such an award as

the result of a defective evaluation process and award decision. Thus, any claim of harm by CSI

does not outweigh the harm to CAC. Id. (“The court finds that the balance of harms favors

entry of an injunction. Harm to [the awardee] does not alter this balance, because the process by

which [the awardee] received the contract was itself flawed.”). Not to mention, CSI has

received, and continues to receive, windfalls from performance of the bridge contract work

which undercut any claim of harm from CSI. Notwithstanding that CAC has successfully

demonstrated, more than once, that CSI’s selection as the awardee was the result of clear Agency

error, CSI has received the benefit of hundreds of millions of dollars in bridge contract work, and

has thus already obtained significant windfalls—both financial, and in the form of past

performance—which more than counteract the loss of an award under the RFQ to which CSI was

never entitled.




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        188.    Finally, a grant of permanent injunctive relief unquestionably serves the public

interest. “[T]he public has an interest in the fair and lawful procurement of goods and services

by the government.” Superior Optical Labs, Inc., 152 Fed. Cl. at 326. “[T]he public interest in

honest, open, and fair competition in the procurement process is compromised whenever an

agency abuses its discretion.” CW Gov’t Travel, Inc. v. United States, 110 Fed. Cl. 462, 496

(2013). Thus, “[t]he public interest is, without doubt, served by ensuring that government

officials follow applicable procurement statutes and regulations.” Magnum Opus Techs., Inc. v.

United States, 94 Fed. Cl. 512, 551 (2010) (citations omitted).

        189.    Accordingly, the public interest is best served by a grant of permanent injunctive

relief to prevent the Agency from proceeding with an arbitrarily and unlawfully issued contract

award which resulted from an irrational and unreasonable evaluation of quotations. This is

particularly true where, as here, the Agency’s defective evaluation led to an erroneous award to

an offeror at an unnecessary price premium of more than a half billion dollars of taxpayer

money. See, e.g., Cardinal Maint. Serv. v. United States, 63 Fed. Cl. 98, 111 (2004) (“An

injunction in this case will also promote the integrity of the procurement process by holding the

government accountable for its actions. Finally, an injunction in this case may result in lowering

the cost to the taxpayers of the work. As a result, an injunction would serve the public

interest.”).

        190.    For these reasons, the Court should grant a permanent injunction barring the

Agency from proceeding with performance of the unlawfully and arbitrarily issued contract

award to CSI.




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                                            Request for Relief

       WHEREFORE, Plaintiff respectfully requests that this Court grant judgment in its favor

and grant Plaintiff the following relief:

       A.      A declaration from the Court that the Agency’s corrective action reevaluation of

quotations, and reselection of CSI as the contract awardee, was prejudicially arbitrary,

capricious, an abuse of discretion, and otherwise unlawful;

       B.      A permanent injunction barring the Agency from proceeding with performance of

the unlawfully issued contract award to CSI;

       C.      An order directing the Agency to terminate CSI’s contract award, conduct a

rational reevaluation of offerors’ quotations in accordance with the terms of the RFQ and

applicable law, and render a new award decision;

       D.      The payment of CAC’s bid preparation and proposal costs, the precise amount of

which will be determined via a separate proceeding if the Agency and CAC are unable to resolve

the matter informally;

       E.      The payment of attorneys’ fees pursuant to the Equal Access to Justice Act, 5

U.S.C. § 504; and

       F.      Such other relief as the Court may deem just and proper.

February 18, 2025                                Respectfully submitted,

                                                 /s/Aron C. Beezley
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